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                                                       AND AFFILIATED PARTNERSHIPS



                                                        300 North LaSalle Street
                                                        Chicago, Illinois 60654
          R. Chris Heck
     To Call Writer Directly:                                (312) 862-2000                                        Facsimile:
         (312) 862-3030                                                                                         (312) 862-2200
   r.chris.heck@kirkland.com                               www.kirkland.com



                                                           July 27, 2011

       BY ELECTRONIC MAIL
       AND FIRST CLASS MAIL

       Carter L. Williams
       Sutherland Asbill & Brennan LLP
       1001 Fannin Street, Suite 3700
       Houston, TX 77002

                           Re:         Objections and Responses to the BP Parties' First Set of Requests for
                                       Admission and First Set of Interrogatories in In Re: Oil Spill by the Oil
                                       Rig "Deepwater Horizon" in the GulfofMexico, on April 20, 2010, MDL
                                       No. 2179

       Dear Carter:

               I write to raise several issues with respect to the objections and responses served on
       behalf of Triton Asset Leasing GMBH, Transocean Holdings LLC, Transocean Offshore
       Deepwater Drilling Inc. and Transocean Deepwater Inc. (collectively, "Transocean") on July 15,
       2011 to the BP Parties' First Set of Requests for Admission (the "RFA Responses") as well as
       Transocean's objections and responses to the BP Parties' First Set of Interrogatories to
       Transocean (the "Interrogatory Responses"), also served on July 15, 2011. This letter also
       requests production of certain categories of documents responsive to the BP Parties' First and
       Second Requests for Production of Documents to the Transocean Parties. We request a meet and
       confer to address any remaining disagreements.

                 A.        Transocean's General Objections.

               Transocean's RFA Responses and Interrogatory Responses state a number of general
       objections without identifying what information, if any, Transocean is withholding on the basis
       of those objections. Similarly, virtually all of Transocean's responses contain specific objections
       that are the same as certain of Transocean's general objections. For the reasons described on
       pages 1-3 of my July 13, 2011 letter, please confirm that Transocean is not withholding any
       information on the basis ofthese general objections or specific objections that are the same as the
       general objections. If Transocean is withholding information on these grounds, please identify
       each RFA or interrogatory for which information is being withheld, a description of what



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information is being withheld, and the specific grounds upon with Transocean has withheld such
information.

        B.      Transocean's RFA Responses.

                1.     Responses Failing to Admit, Deny, or State a Lack of Information
                       Concerning the Actual Subject of the Request.

        Under Rule 36 of the Federal Rules of Civil Procedure, a party responding to an RFA
must admit, specifically deny, or state why it cannot either admit or deny the request. FRCP
36(a)(4). However, for a number of its RFA Responses, Transocean has neither admitted,
denied, or stated that it lacks sufficient information to admit or deny the particular RFA at issue.
Rather, Transocean has responded to such requests by admitting to statements that are materially
different from those contained in the requests for admission. The following responses, among
others, did not answer the actual RFA:

•    RFA No. 222 seeks an admission that "on April 20, 2010, Captain Kuchta did not instruct
     anyone to activate the EDS until 21: 56" while RFA No. 223 requests an admission that "on
     April 20, 2010, Captain Kuchta did not order a crew member to activate the EDS until after
     he had consulted with OIM Harrell." Transocean's responses to both of these requests
     consists of a non-responsive admission "that at approximately 21 :56, the OIM, one of the
     subsea engineers, and one of the BP well site leaders who were on the bridge attempted to
     use the BOP control panel to active the EDS." Neither of these responses even mentions
     Captain Kuchta, and they clearly do not suffice to either admit or deny the actual RFAs. Nor
     do these responses state that Transocean lacks sufficient knowledge or information to admit
     or deny these requests for admission.

•    RFA No. 245 asks Transocean to admit that "at no time during April 19 or April 20, 2010 did
     the Deepwater Horizon's aIM, Jimmy Harrell, have any safety concerns with respect to any
     of the operations that were taking place on the Deepwater Horizon." As its response,
     Transocean admits only that Mr. Harrell "did not exercise his stop work authority on April
     19-20, 2010." Whether or not an individual exercised stop work authority does not answer
     whether that individual had safety concerns.

•    In response to RFA No. 262 -- concerning whether "the overspeed controls on Deepwater
     Horizon engine 3 malfunctioned" on August 7, 2008 -- Transocean "admit[s] that on August
     7, 2008 the Deepwater Horizon engine 3 overspeed alarm was triggered." This statement is
     non-responsive to the issue of whether the overspeed controls malfunctioned. Likewise, RFA
     No. 263 seeks an admission that a "malfunction in the overspeed controls on Deepwater
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     Horizon engine 3 ... on August 7, 2008 caused a blackout" on the rig. Transocean's
     response -- which admits only "that on August 7, 2008 the Deepwater Horizon experienced a
     blackout of the main power plant" -- is again non-responsive to the question of whether such
     blackout was caused by a malfunction in engine 3's overspeed controls.

•    In response to RFA No. 278 -- whether "from the time of its launch through April 20, 2010,
     the Deepwater Horizon never went into a drydock or shipyard for repairs" -- Transocean
     admits only that "the Deepwater Horizon was scheduled for dry dock in 2011 and had
     underwent other repairs in lieu of earlier dry docking." This response evades the question of
     whether the rig went into a drydock or shipyard for repairs before April 20, 2010.

•    In response to RFA No. 281 -- which asks whether as of April 20, 2010, Transocean's
     maintenance personnel were "working on replacing saltwater pipes on the Deepwater
     Horizon that were leaking or about to leak" -- Transocean's response (aside from objections)
     consists of the statement that "on April 19, 2010, personnel were working on replacing water
     filters." This answer is non-responsive to the subject of the request, which is replacing salt
     water pipes that were leaking or about to leak.

•    In response to RFA No. 309 -- seeking an admission "that the Deepwater Horizon blowout
     preventer's remotely operated vehicle ('ROV') intervention panel was supposed to be
     connected to the middle pipe ram" -- Transocean "admit[s] that the Deepwater Horizon's
     BOP's ROV intervention panel was originally connected to a pipe ram that was later, at BP's
     request, converted to a test ram." This response does not constitute an admission or denial
     as to whether the ROV intervention panel was supposed to be connected to the middle pipe
     ram.

•    RFA No. 311 asks Transocean to admit whether "one or more Transocean employees knew
     that the Deepwater Horizon blowout preventer's ROV intervention panel was connected to
     an inverted test ram, which could not seal the well." Transocean's response to this request
     consists of an admission "that the Deepwater Horizon's BOP's ROV intervention panel was
     originally connected to a pipe ram that was later, at BP's request, converted to a test ram"
     and other statements that do not address the RFA. As this response fails to admit, deny, or
     state that Transocean lacks knowledge as to whether Transocean employees knew that the
     "ROV intervention panel was connected to an inverted test ram, which could not seal the
     well," it is non-responsive and deficient.

•    Similarly, Transocean fails to properly respond to RFA No. 312, with regard to whether
     Transocean "t[old] any BP employee before April 20, 2010 that the Deepwater Horizon
     blowout preventer's ROV intervention panel was connected to an inverted test ram, which
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     could not seal the well." Transocean's response to this RFA is similar to its response to RFA
     No. 311, and simply contains no admission, denial, or statement that Transocean lacks
     knowledge as to whether it told any BP employee prior to April 20, 2010 that the ROV
     intervention panel was connected to an inverted test ram that could not seal the well.

•    Likewise, in response to RFA No. 321 -- which asks Transocean to "[a]dmit that the
     Transocean driller is responsible for ensuring that tool joints on the drill string are located so
     that the BOP rams or annular preventers will not close on a tool joint if the rams or annular
     preventers are closed" -- Transocean responds that "it is typical for the driller to locate and
     position the drill pipe tool joint in the BOP" so as to "allow[] the rams to properly close
     around the drill pipe ...." (emphasis added). Whether this is a "typical" practice of a
     Transocean driller does not answer the request to admit that the driller was "responsible" to
     ensure that the tool joints on the drill string were located such that the BOP's rams or annular
     preventers would not close on a tool joint

       For each of these RFAs, as well as all other RFA Responses that do not specifically
admit, deny, or state that Transocean cannot admit or deny the request at issue, the BP Parties
request that Transocean amend its RFA Responses to conform to FRCP 36.

                2.      Improper Citations to Documents or Statements Instead of Providing
                        an Admission, Denial, or Statement of Insufficient Knowledge.

      Similarly, a number of Transocean's RFA Responses are also deficient in that they
merely refer the BP Parties to statements contained in a document without indicating
Transocean's position on the statement at issue. By way of example:

•    Transocean's responses to each ofRFA Nos. 45 through 67, as well as No. 282, merely recite
     provisions of the Drilling Contract with the reservations that Transocean "express[es] no
     position regarding the interpretation" of the cited contractual provision, and that "Such
     questions will be determined by [the] appropriate tribunal at an appropriate time." Such
     responses ignore that FRCP 36(a)(l)(A) expressly allows a party to serve RFAs relating to
     the application of law to fact, or opinions about the application of law to fact. None of
     Transocean's responses constitutes an admission, denial, or statement that Transocean lacks
     sufficient knowledge or information to either admit or deny the request at issue. As such,
     each ofthese responses is deficient under Rule 36.

•    Similarly, Transocean responds to a number of RFAs by admitting that certain statements are
     contained the Well Control Handbook, (see, e.g. responses to RFAs Nos. 101-05, 108) but
     without stating that Transocean presently admits or denies the subject of the request at issue.
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     The BP Parties are aware of the Well Control Handbook and what it says. The purpose of
     these requests is to ascertain Transocean's current contentions and detennine what evidence
     BP will need to present at trial. Mere reference to the Well Control Handbook does not
     adequately respond to these requests.

•     Likewise, in response to requests Nos. 126-27 and 130-53, each of which concern the April
     18, 2010 well control drill aboard the Deepwater Horizon, Transocean responds by making
     reference to "a safety drill report dated April 18, 20 1A" but without actually admitting,
     denying, or stating that it lacks sufficient knowledge to admit or deny the subject matter of
     these requests.

•     In response to RFA No. 289 -- seeking an admission "that on April 20, 2010, at 21:00, the
     Deepwater Horizon's blowout preventer had a leak in the yellow control pod" -- Transocean
     refers to the BP Daily Operations Reports of Feb. 23-March 13, 2010 and states that "The
     operation report identified the leak as being on the yellow pod, and the drill crew switched to
     the blue pod to stop the leak and allow further investigation." This response does not
     constitute an admission, denial, or statement of insufficient knowledge as to Transocean's
     current position regarding the existence of a leak in the yellow control pod on April 20, 201a
     at 21 :00.

        Transocean similarly responds to a number of requests by citing to deposition testimony
without stating whether Transocean admits or denies the request or lacks sufficient infonnation
to do so. By way of example:

•    In response to RFA No. 162 -- which concerns whether "the Deepwater Horizon's subsea
     supervisor, Christopher Pleasant, believed that the second negative test was successful" --
     Transocean responds that "Christopher Peasant testified that Don Vidrine, BP Company
     Man, said the 'second negative pressure test' passed." This statement is not a proper
     response (admission, denial, or statement of lack of knowledge) by Transocean to the RF A.

•    RFA No. 218 seeks an admission as to whether aIM Harrell "did not order any Deepwater
     Horizon crew member to activate the ESD on April 20, 2010." Transocean's response
     merely refers to Mr. Harrell's May 27, 2010 testimony "that he was not aware of any
     communication with anyone to shut down the engines." Transocean fails to admit, deny, or
     state that it lacks sufficient knowledge to respond to this request.

•    In response to RFA No. 221 -- concerning whether Captain Kuchta instructed Chris Pleasant
     not to activate the EDS on April 20, 20 1a -- Transocean merely refers to Mr. Pleasant's
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     deposition testimony without either adopting or disputing that testimony. Transocean fails to
     admit, deny, or state that it has insufficient knowledge regarding the subject of the request.

•    In response to RFAs Nos. 275 and 276 -- regarding whether first assistant engineer James
     Brent Mansfield and chief mechanic Douglas Brown had "expressed concerns" that the
     Deepwater Horizon "did not have sufficient maintenance personnel to properly maintain" the
     rig, Transocean's responses refer to statements made by Messrs. Mansfield and Brown at
     their depositions, but fail to indicate whether Transocean itself admits, denies, or states that it
     lacks sufficient knowledge to admit or deny whether Messrs. Mansfield and Brown actually
     expressed such concerns.

        As you are aware, the purpose of requests for admission under Rule 36 of the Federal
Rules of Civil Procedure is to establish the contentions or beliefs of the responding party and
determine what facts or applications of law to fact are disputed. As such, a response that merely
refers to a document or witness statement without indicating the responding party's position (or
stating that the responding party lacks information sufficient to admit or deny) does not comply
with the Federal Rules of Civil Procedure and is insufficient. Therefore, the BP Parties request
that Transocean supplement their RFA Responses where necessary to admit, deny, or state that
Transocean lacks sufficient knowledge after reasonable inquiry to admit or deny each request.

                3.      Objection to the Term "Maintenance Personnel."

        A number of Transocean's RFA Responses (see e.g. 275-77, 280-81) object to the use of
the phrase "maintenance personnel" as vague and ambiguous insofar as "it is not clear if
'maintenance personnel' includes roustabouts, mechanics, electricians, welders, deckpushers,
floorhands, motor operators, and/or any of the other Transocean crew member positions." For
purposes of clarification, BP instructs that the term "maintenance personnel" as used in its First
Set of Requests for Admission means any Transocean personnel who were chief electricians,
chief electronic technicians, chief engineers, chief mechanics, deckpushers, electrical
supervisors, electronics supervisors, electrical/electronics supervisors, electricians, electronic
technicians, first assistant engineers, second assistant engineers, third assistant engineers,
floorhands, hydraulic technicians, maintenance supervisors, mechanics, mechanical supervisors,
motormen, motor operators, roustabouts, senior subsea supervisors, subsea supervisors, assistants
subsea, and welders. Please supplement your responses, including the response to RFA No. 277,
as appropriate.
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               4.     Objection to Use of the Term "Transocean Deepwater Horizon
                      Companies."

        For a number of its RFA Responses, Transocean objects that the term "Transocean
Deepwater Horizon Companies" is vague and ambiguous. See, e.g., Responses to RFA Nos. 44-
67, 243, 286, 299, 300, 301, 324. The term "Transocean Deepwater Horizon Companies" as
used in its First Set of Requests for Admission has the same meaning as that term is defined in
definition No. 18 of The BP Parties' Second Requests for Production of Documents to the
Transocean Parties, dated April 29, 2011. That is, for the purposes of the First Set of Requests
for Admission, the term "Transocean Deepwater Horizon Companies" means Transocean
Offshore Deepwater Drilling Inc., Transocean Deepwater Inc., Transocean Holdings LLC, and
Triton Asset Leasing GmbH. Please supplement any of these RFA responses as necessary, or
confirm that no supplementation is necessary.

        C.     Transocean's Responses to the BP Parties' First Set of Interrogatories.

        In addition to the foregoing problems with Transocean's responses to the Requests for
Admission, there are a number of deficiencies in Transocean's Interrogatory Responses which
necessitate supplementation by Transocean.

               1.      Failure to Identify Individuals as Requested in Interrogatories.

        Many of BP's interrogatories request that Transocean identify individuals. Transocean
typically either fails to respond to these requests, providew vague responses without identifying
individuals, or provides clearly incorrect responses. Examples include:

•    Response to Interrogatory No.4. This interrogatory asks Transocean to identify all persons
     who maintained, tested, or inspected, or were responsible for maintaining, testing, or
     inspecting, the Deepwater Horizon's BOP, mud-gas separator, diverter, and other well
     control equipment. Transocean's response does not identify any subsea supervisors, even
     though those employees are responsible for BOP maintenance. Moreover, Transocean states
     only that "some rig crew" may be required to take a subsea OJT and/or BOP Equipment
     Seminar, without identifying those individuals. Nor does Transocean's answer identify who
     is responsible for maintaining, testing or inspecting the Deepwater Horizon's mud-gas
     separator and diverter.

•    Response to Interrogatory No.5: Transocean does not identify the individuals responsible
     for maintaining, testing, or inspecting the Deepwater Horizon's alarms systems, overspeed
     controls, rig savers, or emergency shut down system, as requested by the interrogatory.
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•    Response to Interrogatory No. 13: Transocean does not identify the individuals with
     knowledge of whether the equipment listed in the interrogatory operated properly.

•    Response to Interrogatory No. 19: Transocean does not identify the individuals involved in
     communicating information relating to well control events to Transocean employees.

•    Response to Interrogatory No. 24: Transocean does not state the individuals who decided to
     change the hitch schedule or were involved with that change.

•    Response to Interrogatory No. 33: Transocean does not identify the individuals involved
     with the decision to reflag vessels to the Republic of the Marshall Islands.

        For each of these interrogatories, as well as all others where Transocean does not identify
individuals as requested, please provide a supplemental response identifying the individuals
specified by the interrogatory.

               2.      Failure to Specifically Identify Responsive Documents in Compliance
                       with Rule 33(d).

        For many of its responses, Transocean claims that it has produced responsive documents,
but fails to identify bates ranges where these documents can be located. Specifically, in the
following responses Transocean claims to have produced unspecified non-privileged and
responsive documents:

•    Response to Interrogatory No.5 ("documents relating to emergency systems maintenance,
     including maintenance schedules and reports, and emergency systems inspections and
     audits")

•    Response to Interrogatory No.7 ("documents relating to 'function checks' on the 'automatic
     stop devices,' including RMS equipment histories")

•    Response to Interrogatory No. 17 ("documents relating to the Sedco 711 'well control event'
     in the North Sea")

•    Response to Interrogatory No. 20 ("documents relating to Gulf of Mexico 'well control
     events' in the one-year period preceding the incident" and "documents relating to the Sedco
     711 'well control event' in the North Sea")
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•    Response to Interrogatory No. 21 ("documents relating to Deepwater Horizon 'safety
     incidents or violations"')

•    Response to Interrogatory No. 22 ("documents relating to the Deepwater Horizon '''safety
     and environmental record''')

•    In response to Interrogatory No. 27, Transocean states it has produced "responsive
     documents relating to the PIC [person-in-charge] designation, including the Deepwater
     Horizon Emergency Response Manual," but fails to identify with specificity any documents
     other than the Emergency Response Manual

•    Response to Interrogatory No. 28 ("Respondents have produced non-privileged documents,
     including persons on board ('POB') records for the Deepwater Horizon")

•    Response to Interrogatory No. 33 ("documents relating to the flagging of the Deepwater
     Horizon to the Marshall Islands, including Marshall Islands licenses, certificates, and
     inspections")

•    Interrogatory No. 37 ("documents relating to the Marshall Islands' August 26, 2010 letter")

        Federal Rule of Civil Procedure 33(d)(1) permits a party to answer an interrogatory
through reference to business records, but the responding party must "specify[] the records that
must be reviewed, in sufficient detail to enable the interrogating party to locate and identify them
as readily as the responding party could." For the interrogatories listed previously, Transocean's
responses are not in compliance with Rule 33(d). Accordingly, the BP Parties request that
Transocean supplement its responses for each of these interrogatories by identifying by bates
range the responsive documents that it claims to have produced.

                3.     Failure to Specifically Describe Training of Transocean Personnel in
                       Response to Interrogatories Nos. 1 Through 6.

        Interrogatories Nos. 1 through 6 each requested Transocean to "describe in detail"
training provided to Transocean's Deepwater Horizon personnel with respect to well control, the
blowout preventer and other well control equipment, alarm systems, overspeed controls, rig
savers, and emergency shut down system. In response to these interrogatories, Transocean
repeatedly states that "there are numerous forums and formats through which Transocean
employees can acquire the appropriate training, including on-the-job ('OJT') modules, internal
instructor-led training courses, and externally offered training courses." However, instead of
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describing each of these "numerous forums and formats," Transocean's responses appear to
provide only a few representative examples of such training.

         The BP Parties are entitled to know, specifically, each type of training that Transocean
may assert at trial to have provided to its personnel. Such information is necessary to develop
BP's claims and defenses in this litigation, including for BP's factual and expert presentations.
Transocean's general statements regarding "numerous forums and formats" of training is too
vague to determine what training Transocean personnel have received, and the BP Parties will
seek to exclude at trial any attempt by Transocean to introduce evidence of any form of training
that it has not specifically described in response to the relevant interrogatories. Evidence may be
excluded for failure to supplement interrogatories or other discovery requests pursuant to Rule
37(c)(1) of the Federal Rules of Civil Procedure. See also Celestine v. Petroleos De Venezuella
SA, 266 F.3d 343, 351 (5th Cir. 2001) (application of "closing date" limiting relevant time
period for employment discrimination claims appropriate where "appellants did not attempt to
amend their complaint or supplement their responses to interrogatories to include evidence of
discriminatory acts occurring after this date); Jones v. Hancock Holding Co., Civil Action No.
06-14-RET-CN, 2010 WL 2541717 at *2-3 (M.D. La. June 17,2010) (precluding trial testimony
of witness who was not identified in interrogatories); Francois v. Colonial Freight Systems, Inc.,
2007 WL 4564866, at *3 (S.D. Miss. Dec. 21, 2007) ("In accordance with FRCP 37(c), ... the
Motion in Limine to exclude as evidence any medical record or bill for medical services that was
not produced during discovery should be granted."). Please let us know if you intend to
supplement any of these interrogatory responses to provide additional descriptions of training
you claim Transocean employees received.

               4.     Failure to Address         Each    Piece   of Equipment       Specified   in
                      Interrogatory No. 13.

        Interrogatory No. 13 requested that Transocean respond as to whether it believes that
each of the following pieces of equipment properly functioned during the Deepwater Horizon
Incident: the blowout preventer (including automatic mode function and remotely operated
vehicle intervention panel), alarm system, mud-gas separator, diverter system, overspeed
controls, rig savers, emergency shut down system, emergency disconnect system, firefighting
equipment, primary generator, and auxiliary generators. Transocean's response to Interrogatory
No. 13 fails to address several of the enumerated pieces of equipment. Specifically, Transocean
does not state whether it believes that the following pieces of equipment properly functioned
during the Deepwater Horizon Incident:

    •   the blowout preventer's remotely operated vehicle intervention panel,
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   • the alarm system,
   •   overspeed controls,

   •   ng savers,

   •    emergency shut-down system,

   •   firefighting equipment,

   •   primary generators, and

   •   auxiliary generators.

        The BP Parties therefore request that Transocean complete its response to Interrogatory
No. 13 by stating whether Transocean believes each of the foregoing pieces of equipment
properly functioned. Furthermore, as instructed by Interrogatory No. 13, Transocean should for
each such piece of equipment "state all the factual bases that support your contention that such
piece of equipment properly functioned; identify all persons with knowledge of whether the
pieces of equipment properly functioned, and identify all documents relating to whether each
piece of equipment properly functioned." Moreover, as Transocean's response to Interrogatory
No. 13 fails to identify any persons with knowledge or any documents relating to whether any of
the pieces of equipment specified in this request had properly functioned during the Deepwater
Horizon Incident, the BP Parties request that Transocean supplement its response with respect to
the pieces of equipment that Transocean has already referenced in its response to Interrogatory
No. 13.

              5.      Response to Interrogatory No. 16.

         With respect to Interrogatory No. 16, Transocean objects that "the term 'blowout' is not
defined and its meaning is unclear." However, "blowout" is in fact defined in the BP Parties'
First Set of Interrogatories to Transocean in definition No. 18 to mean "an uncontrolled release
of hydrocarbons from a well." Moreover, Transocean's response to Interrogatory No. 16 states
that it is "not aware of any instances where a Transocean rig experienced a blowout" excluding
the April 20, 2010 incident. This response does not address the full language of the
interrogatory, which asks about wells being drilled by Transocean rigs experiencing blowouts or
having hydrocarbons from the well enter the riser. Transocean's response is thus inconsistent
with the fact that gas entered the riser of its Sedco 711 rig in the North Sea during December
2009. In fact, Transocean admitted in its response to RFA No. 252 "that gas entered the riser
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during the December 23, 2009 well control event on the Sedco 711." Please supplement
Transocean's response to answer the entire interrogatory using the appropriate definitions.

               6.      Response to Interrogatory No. 17.

         Similarly, Transocean's response to Interrogatory No. 17 objects that "the term 'well
control event' is not defined and its meaning is unclear," yet in fact that term is in fact defined in
Definition No. 21 of the BP Parties' First Set ofInterrogatories to Transocean to mean "any kick,
lost circulation event, or blowout." Furthermore, the BP Parties note that Transocean has applied
geographic and time limitations in its response to Interrogatory No. 17 to all "Gulf of Mexico
'well control events' in the one-year period preceding the incident." The BP Parties currently are
evaluating this response, and reserve all their rights.

               7.      Response to Interrogatory No. 19.

         With respect to its response to Interrogatory No. 19, which requests Transocean to
"Describe in detail all actions Transocean takes to communicate information, experience, and
'lessons learned' relating to well control events, well monitoring, and well control procedures to
its drilling crews," Transocean again asserts that the term "well control events" is not defined
and is unclear, when the BP Parties did in fact define that term in Definition No. 21. Moreover,
despite Interrogatory No. 19's instructions to "identify all persons involved" and to "identify all
documents relating to such actions," Transocean's response fails to identify any individuals or
documents. Transocean should be able to identify individuals responsible for determining what
information relating to well control events is posted on Transocean's internal network, as well as
who determines the advisories that are discussed during meetings. Similarly, Transocean should
be able to identify document regarding the process for determining what information regarding
well control events is posted on Transocean's internal network or discussed at meetings.
Moreover, Transocean's response appears to be limited to well control events, without discussing
well monitoring or well control procedures, which also is called for by the interrogatory. Please
supplement Transocean's response with the appropriate information.

               8.      Response to Interrogatory No. 20.

        Similarly, with respect to Interrogatory No. 20, Transocean again incorrectly states that
the term "well control event" is not defined, when this term was defined in Definition No. 21.
Furthermore, the BP Parties note that Transocean has applied geographic and time limitations in
its response to Interrogatory No. 20 to "Gulf of Mexico 'well control events' in the one-year
period preceding the incident." The BP Parties currently are evaluating this response, and
reserve all their rights.
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        Moreover, Transocean's response to Interrogatory No. 20 is not fully responsive. The
interrogatory is not limited to seeking information regarding specific well control events.
Rather, Interrogatory No. 20 seeks information regarding Transocean presentations, meetings,
and communications from January 1, 2005 through April 20, 2010 concerning well control
events generally. The interrogatory seeks, by way of example, information concerning
Transocean guidelines. meetings, and communications regarding actions that should be taken to
avoid well control events, how Transocean personnel should respond to well control events,
lessons learned from past experience with well control events, and any other applicable policies,
procedures, protocols, instructions, warnings, advisories, or other communications concerning
well control events.    Please supplement Transocean's response to Interrogatory No. 20 to
include such information, as well as identify all persons involved in such presentations,
meetings, or communications.

               9.      Response to Interrogatory No. 26.

       Although Transocean's response to Interrogatory No. 26 addresses Transocean's
response to the September 2009 BP Follow Up Rig Audit, Marine Assurance Audit and Out of
Service Period, Transocean fails to respond to the other audits, inspections, certifications, and
surveys identified in Interrogatory No. 26, including but not limited to the September/October
2001 Integrated Acceptance Test; the January 2005 BP Technical Rig & Marine Audit; the May
2007 BP Marine Assurance Audit and DP Proving Trials; the January 2008 BP Technical Rig
Audit; the January 2009 West Engineering Services Assessment of PRS Equipment for
Transocean, the Lloyd's Register EMEA Safety Management and Safety Culture/Climate
Reviews conducted in March 2010, and the April 2010 Moduspec USA, Inc. Rig Condition
Assessment.

        In addition, while a portion of Transocean's response to this interrogatory (pages 46-47
of Transocean's interrogatory responses) refers to findings and interpretations of certain of these
audits and surveys, Transocean fails to describe the actions, if any, that it took as a result of such
audits and surveys. For example, Transocean notes that "Moduspec recommended the annulars
be sent for inspection and replaced, and further recommended that the leak be investigated and
'repair[ed] as necessary,'" but does not state what actions Transocean took in response to such
findings.

        Therefore, the BP Parties request that Transocean supplement its response to
Interrogatory No. 26 to identify the actions taken by Transocean as a result of audits, inspections,
certifications, or surveys identified (other than the September 2009 BP Follow Up Rig Audit). If
Transocean did not take any actions in response to one or more of these inspections,
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certifications, or surveys, please supplement Transocean's response to indicate for which of these
inspections, certifications, or surveys Transocean did not take such actions.

               10.     Response to Interrogatory No. 30.

        Interrogatory No. 30 requests Transocean to "[i]dentify all notices, citations, warnings,
penalties, incidents of noncompliance . . . related to the Deepwater Horizon and/or its
appurtenances, including the blowout preventer, from any U.S. or State government agency ...."
Transocean's response to this interrogatory appears to be improperly limited in scope to the
blowout preventer and does not address whether Transocean received such notices, citations,
warnings, penalties, incidents of noncompliance, etcetera with respect to the Deepwater Horizon
rig generally or with respect to any other appurtenances of the rig other than the blowout
preventer. Accordingly, please supplement Transocean's response to Interrogatory No. 30 to
identify whether Transocean received such notices, citations, warnings, penalties, incidents of
noncompliance, etc. with respect to the Deepwater Horizon rig generally or with respect to any
other appurtenances apart from the blowout preventer, and if so state how each such notice,
citation, or penalty was resolved and identify all related documents as instructed in Interrogatory
No. 30. If Transocean did not receive such notices, citations, warnings, penalties, incidents of
noncompliance, etcetera from any governmental agency, please so state.

               11.     Failure to Respond to Interrogatory No. 36.

        Transocean fails to provide any response to Interrogatory No. 36, which requests that
Transocean describe actions taken prior to April 20, 2010 in response to the observation by Det
Norske Veritas that "the statement of Master's authority [was] still not clearly and completely
stated within the Company's Safety Management System." To the extent that Transocean
refuses to answer on the ground that this interrogatory is "vague" or "ambiguous," please
identify which term(s) Transocean finds to be insufficiently clear. To the extent Transocean
objects on the ground that this interrogatory is "not reasonably calculated to lead to the discovery
of admissible evidence," this objection is without merit. The issue of who was in command of
the Deepwater Horizon -- and whether this was adequately communicated to the Deepwater
Horizon crew as of April 20, 2010 -- is relevant to the issues of this litigation, including whether
the Deepwater Horizon crew acted appropriately and in a timely manner to the incident. The BP
Parties therefore reiterate their request that Transocean respond to Interrogatory No. 36.

       D.      Document Production.

      As part of the BP Parties' continuing review of Transocean's document production, the
BP Parties request that Transocean produce the following categories of documents, all of which
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are responsive to the BP Parties' First and/or Second Requests for Production of Documents to
the Transocean Parties:

1.     Drafts of Transocean Investigation Report: We have not located any drafts of the
       Transocean Investigation Report on the Macondo Well Incident. Please confinn that
       Transocean will produce all non-privileged drafts of its report.

2.     Captain Kuchta's license in effect on April 20, 2010: In response to correspondence with
       Don Haycraft, on July 13, 2011 you produced a Merchant Mariner Credential issued by
       the U.S. Coast Guard for Captain Kuchta with an issue date of May 4, 2010, which is
       after the incident. Please produce the Merchant Mariner Credential in effect for Captain
       Kuchta on April 20, 2010.

3.     Trim and stability documents: Please confirm that Transocean will produce all
       documents related to the trim and stability of the Deepwater Horizon. In particular,
       please confinn that Transocean will produce any analyses or calculations of the trim and
       stability of the Deepwater Horizon perfonned by Rick Rogers after the incident occurred,
       as described in Pharr Smith's deposition at pages 263-75.

4.     Document re ESD incident: Mike Williams testified about an incident where the
       emergency shutdown system was activated and ripped off the doors to the engine room,
       and that he had seen a report on the incident along with an "engineering document." (M.
       Williams Dep. at 32-33) We believe that we may have located some of the documents
       related to this incident at TRN-INV-00138765 and TRN-INV-00146978. Please confinn
       that you have produced, or will produce, all documents related to this incident.

5.     Final Response to RMI Letter ofAugust 26 2010: Regarding the August 26, 2010 letter
       from the Republic of the Marshall Islands ("RMI") to Jimmy Moore (as described in
       Interrogatory No. 37), we have located drafts of Transocean's responses, but have not yet
       located the final version of the response. Please confinn that the final version of
       Transocean's response to the RMI letter will be produced.

6.     Deepwater Horizon Group E-mail Addresses: Please produce documents sufficient to
       show the individuals who received e-mails sent to group e-mail addresses for the
       Deepwater Horizon's crew, including the following group e-mail addresses:
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       •   DWH Captain - captain.dwh@deepwater.com;
       •   DWH Asst Driller - AsstDriller.DWH@deepwater.com;
       •   DWH Chief ET - chiefeltech.dwh@deepwater.com;
       •   DWH Chief Mate - chiefmate.dwh@deepwater.com;
       •   DWH Crane Operator - craneoper.dwh@deepwater.com;
       •   DWH Deck Pusher - deckpusher.dwh@deepwater.com;
       •   DWH DP Operator/ DW Horizon Bridge - dpoperator.dwh@deepwater.com;
       •   DWH Driller - driller.dwh@deepwater.com;
       •   DWH Electrical- eltech.dwh@deepwater.com;
       •   DWH Electrical Supervisor - electsup.dwh@deepwater.com;
       •   DWH Maintenance Supervisor - maintsup.dwh@deepwater.com;
       •   DWH Materials - materials.dwh@deepwater.com;
       •   DWH OIM - oim.dwh@deepwater.com;
       •   DWH Radio Operator - radiooper.dwh@deepwater.com;
       •   DWH RSTC - rstc.dwh@deepwater.com;
       •   DWH Safety - safetydel.dwh@deepwater.com;
       •   DWH Subsea - subseasup.dwh@deepwater.com;
       •   DWH Toolpusher - toolpusher.dwh@deepwater.com;
       •   DWH, MechSup - MechSup.DWH@deepwater.com;
       •   DW Horizon Chief Eng. - maintenancesup.dwh@deepwater.com;
       •   DW Horizon ECR - ecr.dwh@deepwater.com;
       •   DW Horizon Electrical Supervisor - elecsup.dwh@deepwater.com;
       •   DW Horizon Mechanical Supervisor - mechsuper.dwh@deepwater.com;
       •   DW Horizon Medic - medic.dwh@deepwater.com;
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        To the extent that you refuse to supplement Transocean's responses to the BP Parties'
First Set of Requests for Admission and BP Parties' First Set of Interrogatories as requested
herein, or to produce the identified documents, the BP Parties request a meet and confer no later
than August 5, 2011, pursuant to Federal Rule of Civil Procedure 37, to discuss any responses to
requests for admission, information or documents that Transocean is unwilling to provide or
produce.

                                                    Sincerely,

                                                  'R,~~
                                                    R. Chris Heck


cc:    Richard C. Godfrey, P.C.
       Andrew Langan, P.C.
       Barry E. Fields, P.C.
       Don K. Haycraft
       Steven L. Roberts
       Kerry J. Miller
